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 4 Costa Mesa, CA 92626
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 6 [Proposed] Attorneys for the Debtor and
   Debtor in Possession, Dov Charney
 7

 8                                    UNITED STATES BANKRUPTCY COURT

 9                   CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
10 In re                                                  Case No.: 2:22-bk-11335-VZ

11 DOV CHARNEY,                                           Adv. Case No.

12                      Debtor.                           Chapter 11

13                                                        NOTICE OF REMOVAL OF STATE
     DOV CHARNEY,                                         COURT ACTION
14
                        Plaintiffs,                       [28 U.S.C. § 1452; Fed. R. Bankr. P. 9027]
15
               vs.                                        [No Hearing Required]
16
   STANDARD GENERAL, L.P., a Delaware
17 limited partnership; STANDARD GENERAL
   MASTER FUND, L.P., a Cayman Islands
18 limited partnership; P STANDARD
   GENERAL LTD., a British Virgin
19 Islands limited company; and DOES 1 to 50,
   inclusive,
20

21                      Defendants.
22

23            TO       THE     HONORABLE       VINCENT        P.   ZURZOLO,        UNITED      STATES
24 BANKRUPTCY JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, ALL

25 INTERESTED PARTIES AND/OR THEIR COUNSEL OF RECORD:

26            PLEASE TAKE NOTICE that pursuant to Rule 9027 of the Federal Rules of Bankruptcy
27 Procedure and 28 U.S.C. §§ 157(a), 157(b), 157(b)(2), 1334 and 1452, Dov Charney (the “Debtor”),

28 the Debtor in the above-captioned bankruptcy case (the “Bankruptcy Case”), hereby removes to the

     1249751.1/81961.82002                            1
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 1 above-captioned bankruptcy court (the “Court”) the action pending in the California Superior Court

 2 (Los Angeles County) (the “State Court Action”), entitled Dov Charney v. Standard General, L.P.,

 3 et al., Case No. BC581130 (the “Removed Case”), assigned to the Honorable Terry Green, including

 4 any and all cross-complaints, counterclaims, or actions subsumed or combined with the State Court

 5 Action, and any and all matters pending therein.

 6            In support of the removal of the State Court Action, the Debtor respectfully submits the

 7 following:

 8            1.        On May 7, 2015, Dov Charney filed a complaint against Standard General, L.P.,

 9 Standard General Master Fund LP, and P Standard General LTD (“SG”) claiming defamation, false
10 light, intentional interference of actual economic relations, intentional interference of prospective

11 economic relations and unfair competition.

12            2.        On or about June 2015, Defendants Standard General LP, Standard General Master

13 Fund LP, P Standard General LTD (“SG”) filed a Motion to Strike the Complaint pursuant to Code

14 of Civil Procedure Section 425.16. On September 30, 2015, the Court heard the motion and ruled in

15 favor of SG. On or about November 2015, SG filed a Motion for Attorneys’ Fees pursuant to Code

16 of Civil Procedure Section 425.16. The court granted the Motion and entered a Judgment in favor

17 of SG in the amount of $150,000 in attorneys’ fees and $1808.16 in costs on January 29, 2016.

18            3.        On August 18, 2016, Plaintiff Dov Charney appealed the decision. The Court of

19 Appeal affirmed the lower court’s order and issued its opinion and order on March 28, 2017. SG
20 then filed a Motion for Attorneys’ fees pursuant to Code of Civil Procedure Section 425.16c on

21 April 21, 2017. After a hearing on September 22, 2017, the Court ruled in favor of SG awarding

22 attorneys’ fees in the amount $90,180.00 and costs in the amount $1865.79. The Judgment was

23 entered September 25, 2017.

24            4.        On or about March 10, 2022 (the “Petition Date”), the Debtor filed a voluntary

25 petition for relief under chapter 11 of title 11 of the United States Code. The Debtor remains debtor

26 in possession pursuant to 11 U.S.C. §§ 1107 and 1108. No committee, trustee, or examiner has been

27 appointed in the Bankruptcy Case.

28            5.        The State Court Action was pending in the State Court as of the Petition Date. The

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 1 State Court Action, including all claims, counterclaims, and causes of action asserted therein, is a

 2 civil action. The State Court Action is neither a proceeding before the United States Tax Court nor

 3 a civil action by a governmental unit to enforce such governmental unit’s police or regulatory power.

 4            6.        The State Court Action is a “core proceeding” under 28 U.S.C. §§ 157(b)(2)(A), (B)

 5 and (O) because such action (1) is a matter concerning administration of the Debtor’s estate; (2)

 6 directly relates to the allowance or disallowance of a claim against the Debtor; and (3) is a proceeding

 7 affecting the liquidation of the assets of the Debtor’s estate.

 8            7.        If the State Court Action, or any part thereof, is determined to constitute a “non-core

 9 proceeding,” the Debtor consents to the entry of final orders and judgments by this Bankruptcy
10 Court.

11            8.        The Court has jurisdiction over the State Court Action pursuant to 28 U.S.C.§

12 1334(b). Therefore, pursuant to 28 U.S.C. § 1452(a), the Removed Case may be removed to the

13 U.S. Bankruptcy Court.

14            9.        In accordance with Local Bankruptcy Rule 9027-1(d), copies of documents (whether

15 filed by a party or entered by the State Court) filed in the State Court Action prior to removal,

16 together with a copy of the docket from the State Court Action, shall be filed with the clerk of the

17 Court within 30 days of the date of filing this notice of removal, unless otherwise ordered by the

18 Court.

19            10.       Removal of the State Court Action is timely under Rule 9027(a)(2)(A) of the Federal
20 Rules of Bankruptcy Procedure (“FRBP”) because this notice of removal has been filed no later than

21 90 days after the Petition Date.

22            11.       The Debtors will promptly file a copy of this notice of removal with the clerk of the

23 State Court and serve copies of this notice of removal on all parties to the State Court Action and

24 the Office of the United States Trustee.

25            PLEASE TAKE FURTHER NOTICE that removal of the State Court Action and all

26 claims and causes of action asserted therein shall be effective upon the filing of a copy of this notice

27 of removal with the State Court pursuant to Rule 9027(c) of FRBP. Upon such filing, the State

28 Court Action shall be removed to the United States Bankruptcy Court for the Central District of

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 1 California, Los Angeles Division, and the parties to the State Court Action shall proceed no further

 2 in the State Court Action against the Debtors unless otherwise ordered by the Court.

 3

 4 DATED: March 17, 2022                      THEODORA ORINGHER PC

 5
                                              By:
 6
                                                    William N. Lobel
 7                                                  Christopher J. Harney

 8                                                  [Proposed] Attorneys for the Debtor and Debtor in
                                                    Possession, Dov Charney
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 1                               PROOF OF SERVICE OF DOCUMENT
 2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: 535 Anton Blvd., Ninth Floor, Costa Mesa, CA 92626.
 3
       A true and correct copy of the foregoing document entitled (specify): NOTICE OF REMOVAL OF
 4     STATE COURT ACTION will be served in the manner stated below:

 5 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
     General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
 6 document. On 03/17/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
     and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission
 7 at the email addresses stated below:

 8                                                                 Service information continued on attached page

 9 2. SERVED BY UNITED STATES MAIL:
     On _______ I served the following persons and/or entities at the last known addresses in this bankruptcy
10 case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
     States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
11 declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

12
                                                                   Service information continued on attached page
13
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
14 (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
     03/17/2022, I served the following persons and/or entities by personal delivery, overnight mail service, or (for
15 those who consented in writing to such service method), by facsimile transmission and/or email as follows.
     Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
16 be completed no later than 24 hours after the document is filed.

17
                                                                   Service information continued on attached page
18
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
19
       03/17/2022            Sara Tena                                      /s/ Sara Tena
20     Date                       Printed Name                              Signature

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                                                 NOTICE OF REMOVAL
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 1 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

 2           William N Lobel wlobel@tocounsel.com, stena@tocounsel.com;sschuster@tocounsel.com
             United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 3

 4
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 5
   Jessica Taran: jtaran@jtaranlaw.com
 6 Jay S. Auslander: jauslander@wilkauslander.com;
   Natalie Shkolnik: nshkolnik@wilkauslander.com;
 7 Julie Cilia: jcilia@wilkauslander.com
   Stuart Riback: sriback@wilkauslander.com
 8 Keith A. Fink kfink@finklawfirm.com
   Imbar Sagi-Lebowitz: islebowitz@finklawfirm.com
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                                           NOTICE OF REMOVAL
